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                                     No. 21-2325

                                  IN THE
                      UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT

 ST. ANTHONY HOSPITAL,                    )           Appeal from the United States
                                          )           District Court for the
         Plaintiff-Appellant,
                                          )           Northern District of Illinois,
     v.                                   )           Eastern Division
 ELIZABETH M. WHITEHORN, in               )
 her official capacity as Director of the )
 Illinois Department of Healthcare        )
 and Family Services,                     )           No. 20-cv-02561
                                          )
         Defendant-Appellee,              )
     and                                  )
                                          )
 MERIDIAN HEALTH PLAN OF
                                          )           The Honorable
 ILLINOIS, INC., et al.,
                                          )           Steven C. Seeger,
         Intervening Defendants-Appellees )           Judge Presiding.

                 Unopposed Motion for Three-Week Extension
                   To File Petition for Rehearing En Banc

      Defendant-Appellee Elizabeth M. Whitehorn, Director of the Illinois

Department of Healthcare and Family Services, by her counsel, respectfully moves,

without objection by plaintiff-appellant St. Anthony Hospital or the intervening

defendants-appellees, for a three-week extension, to May 30, 2024, to file a petition

for rehearing en banc, and in support submits the attached declaration of Assistant

Attorney General Richard S. Huszagh.

                                         /s/ Richard S. Huszagh
                                        Assistant Attorney General
                                        115 S. LaSalle St.
                                        Chicago, Illinois 60603
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                                        (312) 814-2587 (office)
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                        Declaration of Richard S. Huszagh

      1.     I am an Assistant Attorney General in the Civil Appeals Division of the

Illinois Attorney General’s Office and am the attorney assigned to represent

defendant-appellee Elizabeth M. Whitehorn, Director of the Illinois Department of

Healthcare and Family Services (“Defendant”), in this appeal. I submit this

declaration in support of Defendant’s unopposed motion for a three-week extension,

to May 30, 2024, to file a petition for rehearing en banc.

      2.     Following the Supreme Court’s order granting Defendant’s cert

petition, vacating this court’s earlier opinion, and remanding for reconsideration in

light of the decision in Health & Hospital Corp. of Marion County v. Talevski, 599

U.S. 166 (2023), this court ordered additional briefing and on April 25, 2024 issued

its decision, over a dissent, reversing the district court’s judgment, Dkt. 108.

      3.     Defendant’s petition for rehearing en banc is now due on May 9, 2024.

Meeting that deadline would be very difficult, given the nature and significance of the

issues presented, as well as my responsibilities in other matters and the time

necessary for internal review. Meeting that deadline would also potentially

compromise Defendant’s ability to provide a succinct and cogent presentation of the

relevant issues for the court’s consideration.

      4.     I communicated with counsel for the other parties to this appeal, and

they each stated that they did not object to this proposed three-week extension for

Defendant to file her petition for rehearing en banc. Defendant has not previously

sought or received any extension of time to file this petition.
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        5.   I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

foregoing statements are true and correct.


Date:    May 2, 2024                  /s/ Richard S. Huszagh
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                        Certificate of Filing and Service

      I hereby certify that on May 2, 2024, I electronically filed the foregoing

Unopposed Motion for Three-Week Extension To File Petition for Rehearing

En Banc with the Clerk of Court for the United States Court of Appeals for the

Seventh Circuit by using the CM/ECF system, which will effect service on other

participants in the case, all of whom are registered CM/ECF users.



                                          /s/ Richard S. Huszagh
